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             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JOHN DOE,                                       No. 4:19-CV-01234

            Plaintiff,                          (Judge Brann)

    v.

THE PENNSYLVANIA STATE
UNIVERSITY,

            Defendant.

                                    ORDER

   AND NOW, this 19th day of July 2019, IT IS HEREBY ORDERED that:

   1.      The Court will hold a telephonic status conference on July 22, 2019

           at 2:00 p.m.

   2.      Counsel for Plaintiff shall initiate the call to Chambers at 570-323-

           9772. At the time the call is placed, all counsel shall be on the line

           and prepared to proceed.

   3.      The Court’s preference is that counsel do not participate in telephonic

           conference calls by cellular phone or other mobile device.

                                            BY THE COURT:


                                            s/ Matthew W. Brann
                                            Matthew W. Brann
                                            United States District Judge
